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UNITED sTATEs DISTRICT COURT
WESTERN DISTRICT or TENNESSEE 65 _ltiii 15 Pti li= liQ
Western Division

UNITED STATES OF AMERICA

-vs- Case No. 2:97cr20244-D

ERIC RAYFORD

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, JUNE 21, 2005 at 3:00 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and F ederal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: June 16, 2005 r‘-'-*"'"_
C§. /hmm @__

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

1lf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C_ § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C_ § 3142(f`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the govemment or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will fl ee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or j uror.

AO 470 lB/BS) Order of Temporary Detention l
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With Flu|e 55 and/or 32(&:~) FHCrP on § l ‘ § §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:97-CR-20244 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

'ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

